Case 2:11-bk-14834-BB Doc1 Filed 02/04/11 Entered 02/04/11 09:10:35 Desc

Main Document Page1of11
Form B1 (Official Form 1) - (Rev, 04{10)

| UNITED STATES BANKRUPTCY COURT :
CENTRAL DISTRICT OF CALIFORNIA ee chee
en" of Debtor (if individual, enter Last, First, Middle): Name of Joint Debtor (Spouse) (Last, First, M
Le OY (On t fr Je k — on cosets one ce ene en uo
; All Other Names used by the Debtor in the last 8 years All Other Names used by the Jaint Debtor in the last & years |
; (indlude martied, maiden, anc trade names). (include married, maiden, and trade names): |
"Last four digits of Soc. Sec. or Individual Taxpayer |.D. (TIN) No/Complete EIN | Last four digits of Soc. Sec. or Individual Taxpayer 1D. (ITIN) No/Complete EIN” |
| (if more than one, state all): (e 6 Go (if more than one, state all):
| “Street Address of Debtor (No. & Street, City, and Ste se "1 Street Address of Joint Debtor (No. & Street, City, and State): |
1 |
W750 W. Sunset sid Zhe
| see a ee ee at AE ee tee oe ae ee ee . a ve woe ot
bos Dedeles. CR [OPE GooHe | !
County of Residence or of the Principal Place of Business: County of Residence or of the Principal Place of Business:
OW SSeS
Mailing Address of Debtor (if different from street address}: Mailing Address of Joint Debtor (f different from street address):
!
| ZPCODE —~—S [ zPCODE =i (sti‘iés*™
Location of Princinal Assets of Business Debtor (f different from street address above): |
| ZIP CODE |
Type of Debtor (Form of Organization) Nature of Business ! Chapter of Bankruptcy Code Under Which -
(Check one box) (Check one box} the Patiion is Filed
w {Check one box)
Individual (ndudes Joint Debtors} CQ} Health Gare Business :
See Exhibit D on page 2 of this fm =| Q Single Asset Real Estate as defined in 11 @” Chapter 7 Q Chapter11 O — Chapter 15 Petiten for Recognition
1 Corporation (includes LLC and LLP) U.S.C. § 107 (51B) OQ Chapter 9 Q_sChapter 12 of a Foreign Main Proceeding
OQ Parership Q Rairoad O Cha 13 Q Chapter 15 Petition for Recognition
C1 Chher (if debtoris not one of the above | () Stockbroker Per of a Foreign Nonmain Proceed:
extites, check this box and stata type | C Commodity Broker a reign’ mg
of entity below) Q Clearing Bank Nature of Debts
QQ Other (Check one box)
Tax-Exenipt Entity SY” Debts are primarily consumer debts, defined in C1 Debts are primarily business debts.
(Check one box, if applicable) 17 U.S.C. § 104(8) as “incurred by an individual
primanty for a personal, family, or house-hold
| C) Debtor is a txcexernpt organization under Purpose.” :
| Tile 26 of the United States Code (he
Filing Fee (Check ane box) Chapter 14 Debtors:
| Check one box: |
| Ful Filing Fee attached Q Debtor is a small business debtor as defined in 11 U.S.C. § 104454D). :
C1 Fling Fee to be paid in install (Apelicatle to individuals only). Must signed Debtor is not a small business debtor as defined in 11 U.S.C. § 101 (61D).
application for the court's consideration certifying that the debtoris unable to payfee except | Check if: .
in instalments. Ruse 1006(b). See Official Form 3A, a ‘§ aggregate noncontingent liquidated debts (excluding debts owed tp insiders or
affiliates) are less than $2,343,300. (amount subject to adjustment on WOW and every three
C1 Filing Fee waiver requested (Applicable to chapter 7 individuals only). Must attach years thereafter). i
signed appfication for the court's consideration. See Cfficial Form 3B. et ne en |
Check all applicable boxes: |
OG Aplan is being fled with this petition
i OQ Acceptances of the plan were solicited prepetition from one or more dasses of creditors, in

acoordanes with 14.U.S.C. § 1126(b)

" StatisticavAdministrative Informatt

THIS SPACE FOR
ia Debtor estimates that funds wil be available for distribution to unsecured creditors. Y
| oa Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for distribution
to unsecured creditors.
aoa _ ces once etn wie ao 4
Estimated Number of Creditors PS 2
+ SO 100 200 4000. «5,001- 10,001 25,001- 5,001- OVER i Q
49 99 «689 see 5000 7,000 25.000 8,000 10,000 «= (199,000 | Sel ry
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Estimated Assets z Z o rr
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Estimated Liabilities | 9 |
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| a es = —-——. — -
Case 2:11-bk-14834-BB

Form 81 (Official Form 1) (Rev-04/10)

| Voluntary Petition

(This page must be completed and filed in every case.)

Doc 1 Filed 02/04/11 Entered 02/04/11 09:10:35 Desc
Main Document

Page 2 of 11
ee men nnn eatin we _ 2010 USBC, Central District of California
Name of Debtor(s): FORM Bi, Page 2
Adoviae |

ve

Date Filed:

ONE Centers DishOr (Creo nerd |

Exhibit A

{To be completed if debtor is required to file periodic reports (e.g., forrns 10K
| and 100) with the Securities and Exchange Commission pursuant to Section
| 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief
| under chapter 11.}

tat As staced and made a part of this petition.

~~ Exhibit ¢
Does the debtor awn or have possession of any property that poses or is

alleged to pose a threat of imminent and identifiable harm to public health or
safety?

' O Yes, and Exhibit C is attached and made 2 part of this petition.
WW No

(To be completed if debtor is an individual whose debts
are primary consumer debts.)

t, the attomey for the petitioner named in the foregoing petition, declare that | have
informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13 of title
11, United States Code, and have explained the relief available under each such chapter.
1 further certify that | have delivered to the debtor the notice required by 11 U.S.C. § 342(b).

x
Signature of Attomey for Debtor(s)

Date

: Exhibit D |
(To be completed by every individual debtor. ff a joint petition is filed, each spouse must
complete and attach a separate Exhibit 0.) :

@ Exhibit D completed and signed dy the debtor is attached and made a part of this
petition.

If this is a joint petition:

C1 Exhibit O also completed and signed by the joint debtor is attached and made a part of
this petition.

vee ction bya .

of the petition.

Information Regarding the Debtor - Venue
(Check ary applicable box)

a Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days imrnediately preceding the date
ef this petition or for a longer part of such 180 days than in any other District.

O There is a bankruptcy case conceming debtor's affiliate, general partner, or partnership pending in this Disbict,
| Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States im this District, or has no principal :

place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this District, or the interests of the
parties will be served in regard to the reef sought in this District. .

Check ail applicable boxes.

QO Landlord has a judgment against the debtor for possession of debtor's residence. (if box checked, cornplete the following.)

Debtor daims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire monetary
default that gave rise to the judgment for possession, after the judgment for possession was entered, and

Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the filing

ae 4

Resides as a Tenant of Residential Property

(Name of landlord that obtained judgment}

(Address of landlord}

Debtor certifies that he/she has served the Landlord with this certification (11 US.C.§ 362(1)).
_ Case 2:11-bk-14834-BB Doc1_ Filed 02/04/11 Entered 02/04/11 09:10:35 Desc
, Main Document Page 3of11
Farm B14 (Official Form 1) (Rev. 04/10)

Voluntary Petition

(This page must be completed and fled in every case)

2008 USBC, Central District of California
Name of Debtor's): FORM B14, Page 3

dart ewe b wae

Signature(s) of Debtor(s) {individualJoint) Signature of a Foreign Representative

I declare under penalty of perjury that the information provided in this petition is tue and correct | declare under penalty of perjury that the information provided in this petition is tue and correct,
fit petitioner is an individual whose debts are primarily consumer debts and has chosen to file that | am the foreign representative of a debtor in a foreign main proceeding, and that | am
under chapter 7] | am aware that i may prooned under chapter 7, 11, 12 or 13 of tite 11, United authorized to fle this petition.

States Code, understand the relief avaiable under each such chapter, and choose to proceed
under chapter 7. [no attomey represents me and no banivuptcy peftion preparer signs te (Check only one box)
petition] | have obtained and read the nolice required by 11 U.S.C, § 342(b).

Q t request relief in accordance with chapter 15 of tile 11, Jnited States Code. Certified comes.

| request relief in accordance with the chapter of tle 11, United States Code, speciied in this of the documents required by 14 U.S.C. § 1515 are attached.
petition. ee _ O Pursuant to 11 U.S.C. § 1541, | request relief in aenordance with the chapter of file 11
x eo f spectied in this petition. A certified copy of the order granting recognition of the foreign: main

Signature of Debtor mm proceeding is attached.
x x

Signature of Joint Debtor (Signature of Foreign Representative)

20 - SST - 2226
Telephone Number (If not represented by attomey) (Printed Name of Foreign Representatve)
2/3/Zou
Date . . Date
Signature of Aitorney Signature of Non-Attomey Bankruptcy Patition Preparer

x

| dedare under penalty of pequry that (1) Lam a bankruptcy petition preparer as defined in 14
Signature of Attomey for Debtor(s) U.S.C. § 110; (2}1 prepared this document for compensation and have provided the debtor with

a copy of this document and the nofices and information required under 11 U.S.C. §§ 110(b),
410(h), and 342(b); and, (3) if rules or guidelines have beer promulgated pursuant to 11USC.

Printed Name of Atlormey for Debtor(s) § 110(h) setting a maxdmurn fee for services chargeable by bankruptcy petition preparers, | have
given the debtor notice of the maximum amount before preparing any document for fling for a

Finn Name debtor or accepting any fee fram the debtor, as required in that section. Official Form 19 is
attached.

Address

Printed Name and tile, f any, of Bankruptcy Petition Preparer

Soca Security number (if the bankruptcy petition preparer is nat an individual, state the Social
“Telephone Number Security number of the officer, principal, responsible person or partner of the bankruptcy petition
preparer.) (Required by 14 U.S.C. § 113.)

Date Bar Number

Address

*In a case in which § 707(b\4)(0} applies, this signature also constitutes a certification that the

attomey has no knowedge after an inquiry that the information in the schedules is incorrect

Signature of Debtor (Corporation/Parinership) x
Date

{ dedare under penalty of perury that the information provided in this petition is true and correct,

and that | have been authorized to fie this petition on behalf of the debtor. Signature of bankruptcy petition preparer or officer, principal, responsible person, of partner whose
Social Seourity number is provided above.

The debtor requests relief in accordance with the chapter of tle 41, United States Code,
specified in this petition. Names and Social Security numbers of ail other individuals who prepared or assisted in preparing
this document unless the bankruptcy petition preparer is not an individual

x If more than one person prepared this document, attach additional sheets conforming 1p the
Signature of Authorized Individual appropriate official form for each person.
Printed Name of Authorized Individtsa! A banieupicy petition preparer's failire io comply with the provisions of ite 11 anc the Federal
Rules of Bankrupicy Procedure may result in fines or imprisonment or both, 17 U.S.C. § 71 18
USC § 156

Tide of Authorized Individual

Date

Case 2:11-bk-14834-BB Doc1_ Filed 02/04/11 Entered 02/04/11 09:10:35 Desc
’ Main Document Page 4of11

Form B1, Exhibit C - (9/01) 2001 USBC, Central District of California

Exhibit “C”

[!f, to the best of the debtor's knowledge, the debtor owns or has possession of property that poses or is alleged to pose a threat
of imminent and identifiable harm to the public health or safety, attach this Exhibit “C” to the petition.]

[Caption as in Form 16B]
Exhibit “C” to Voluntary Petition
1. Identify and briefly describe all rca! or personal property owned by or in possession of the debtor that, to the best of the

debtor's knowledge, poses or is alleged to pose a threat of imminent and identifiable harm to the public health or safety
(attach additional sheets if necessary):

wf

2. With respect to each parcel of reat property or item of personal property identified in question 1, describe the nature and
location of the dangerous condition, whether environmental or otherwise, that poses or is alleged to pose a threat of
imminent and identifiable harm to the public health or safety (attach additional sheets if necessary):

Aol

F

Case 2:11-bk-14834-BB Doc1_ Filed 02/04/11 Entered 02/04/11 09:10:35 Desc
’ Main Document Page5of11

B 20t - Notice of Avaifable Chapters (Rev. 12/08) USBC, Central District of California
Name Alek Adevionw
Address: (1 £0 (WD. Son seh Bro d : ¥ 2b
LoS Pnoyeles Ch GYoor4
Telephone: Su - SST +12 Fax:

[] Attorney for Debtor

MM Debtor in Pro Per

UNITED STATES BANKRUPTCY COURT
| CENTRAL DISTRICT OF CALIFORNIA

| List all names including trade names, used by | Case No.:
, Debtor(s) within last 8 years:

|
| Acree Apoeths NOTICE OF AVAILABLE
CHAPTERS

(Notice to Individual Consumer Debtor Under § 342(b) of the Bankruptcy Code) |

|
| Apottse Crervbue
| Tir nep ots mer ¢ Lic

In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four
types of bankruptcy proceedings you may commence, and (3) Informs you about bankruptcy crimes and notifies you that the
Attorney General may examine all information you supply in connection with a bankruptcy case.

You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attomey to lear of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal
advice.

Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive infarmation about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any
changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other),
and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single
copy of each notice mailed from the bankruptcy court in ajointly-addressed envelope, uniess you file a statement with the court
requesting that each spouse receive a separate copy of all notices.

41. Services Available from Credit Counseting Agencies

With timited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for
credit counseling and provides assistance in performing a budget analysis. The briefing must be given within 180
days before the bankruptcy filing. The briefing may be provided individually or in a group {including briefings conducted
by telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by
the United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult
of the approved budget and credit counseling agencies. Each debtor in a joint case must complete the briefing.

In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial
management instructional courses. Each debtor in a joint case must complete the course.
Case 2:11-bk-14834-BB Doc1 Filed 02/04/11 Entered 02/04/11 09:10:35 Desc

Main Document Page 6 of 11

B 201 - Notice of Available Chapters (Rev. 12/08) USBC, Central District of Califomia

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)

1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
whose debts are primarily consumer debts are subject to a “means test’ designed to determine whether the case
should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
residence and family size, in some cases, creditors have the right to file a motion requesting that the court dismiss
your case under § 707(b) of the Cade. It is upto the court to decide whether the case should be dismissed.

2. Under chapter 7, you may claim certain of your property as exernpt under governing law. A trustee may have the
right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your
creditors.

3 The purpase of filing a chapter 7 case is to obtain a discharge of your existing debts. if, however, you are found to
have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your
discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.

4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may
still be responsible for most taxes and student loans; debts incurred to pay nandischargeable taxes; domestic support
and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain
debts which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by
operating a motor vehicle, vessel, or aircraft while intoxicated from alcoho! or drugs. Also, if a creditor can prove that
a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and maticious injury, the bankruptcy court
may determine that the debt is not discharged.

Chapter 13: Repayment of All or Part of the Debts of an individual with Regular Income ($235 filing fee, $39

administrative fee: Total fee $274)

+. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in
installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar
amounts set forth in the Bankruptcy Code.

2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
them, using your future earnings. The period allowed by the court to repay your debts may be three years or five
years, depending upon your income and other factors. The court must approve your plan before it can take effect.

3. After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans, certain taxes; most criminal fines and restitution obligations, certain debts which are
not properly listed in your bankruptcy papers, certain debts for acts that caused death or personal injury; and certain
iong term secured obligations.

Chapter 11: Reorganization ($1060 filing fee, $39 administrative fee: Total fee $1039)
Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are
quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attomey.

Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)

Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future
earnings and is similar to chapter 43. The eligibility requirements are restrictive, limiting its use to those whose income
arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Grimes and Availability of Bankruptcy Papers to Law Enforcement Officials

A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury,
either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information
supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through
the Office of the United States Trustee, the Office of the United States Attomey, and other components and employees
of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
rules of the court.
Case 2:11-bk-14834-BB Doc1 Filed 02/04/11 Entered 02/04/11 09:10:35 Desc

Main Document Page 7 of 11

B 201 - Notice of Available Chapters (Rev. 12/08) USBC, Central District of California

Certificate of [Non-Attorney] Bankruptcy Petition Preparer

|, the [non-attorney] bankruptcy petition preparer signing the debtor's petition, hereby certify that | delivered to the debtor
this notice required by § 342(b) of the Bankruptcy Code.

Printed name and title, if any, of Bankruptcy Petition Preparer Social Security number (If the bankruptcy petition
Address: preparer is not an individual, state the
Social Security number of the officer, principal,
responsible person, or partner of the bankruptcy
petition preparer.) (Required by 11 U.S.C. § 110.)

x

Signature of Bankruptcy Petition Preparer or officer,
principal, responsible person, or partner whose Social
Security number is provided above.

Certificate of the Debtor

| (We), the debtor(s), affirm that | (we) have received and read this notice.

Acee Apepar aaron

Printed Name(s} of Debtor(s) Signature of Debtor Dat

Case No. (if known) A
Signature of Jaint Debtor (if any) Date

Case 2:11-bk-14834-BB Doc1_ Filed 02/04/11 Entered 02/04/11 09:10:35 Desc
* Main Document Page 8 of 11

B ID (Official Form 1, Exhibit D) (12/09)

UNITED STATES BANKRUPTCY COURT

Central District of California

Inre Alek Adorian Case No.
Debtor (if known)

EXHIBIT D - INDIVIDUAL DEBTOR’S STATEMENT OF COMPLIANCE WITH
CREDIT COUNSELING REQUIREMENT

Warning: You must be able to check truthfully one of the five statements regarding
credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
case, and the court can dismiss any case you do file. If that happens, you will lose whatever
filing fee you paid, and your creditors will be able to resume collection activities against
you. Hf your case is dismissed and you file another bankruptcy case later, you may be
required to pay a second filing fee and you may have to take extra steps to stop creditors’
collection activities.

Every individual debtor must file this Exhibit D. Ifa joint petition is filed, each spouse
must complete and file a separate Exhibit D. Check one of the five statements below and attach
any documents as directed.

Cl 1. Within the 180 days before the filing of my bankruptcy case, | received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, and | have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
developed through the agency.

Zi 2. Within the 180 days before the filing of my bankruptcy case, | received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the
services provided to you and a copy of any debt repayment plan developed through the agency
no later than 14 days afier your bankruptcy case is filed.
-

Case 2:11-bk-14834-BB Doc1_ Filed 02/04/11 Entered 02/04/11 09:10:35 Desc
, Main Document Page Qof11

Page 2
B {D (Official Form 1, Exh, D) (12/09}— Cont AEF

0 3. 1 certify that I requested credit counseling services from an approved agency but
was unable to obtain the services during the seven days from the time | made my request, and the
following exigent circumstances merit a temporary waiver of the credit counseling requirement
so I can file my bankruptcy case now. [Summarize exigent circumstances here. |

If your certification is satisfactory to the court, you must still obtain the credit
counseling briefing within the first 30 days after you file your bankruptcy petition and
promptly file a certificate from the agency that provided the counseling, together with a
copy of any debt management plan developed through the agency. Failure to fulfill these
requirements may result in dismissal of your case. Any extension of the 30-day deadline
can be granted only for cause and is limited to a maximum of 15 days. Your case may also
be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.

C14. | am not required to receive a credit counseling briefing because of: [Check the
applicable statement.] [Must be accompanied by a motion for determination by the court. ]

OlIncapacity. (Defined in 1! U.S.C. § 109(h)(4) as impaired by reason of mental
illness or mental deficiency so as to be incapable of realizing and making rationa!
decisions with respect to financial responsibilities. ),

© Disability. (Defined in 11 U.S.C. § 109(h){4) as physically impaired to the
extent of being unable, after reasonable effort, to participate in a credit counseling
briefing in person, by telephone, or through the Internet.);

CO Active military duty in a military combat zone.

C15. The United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of || U.S.C. § 109(h) does not apply in this district.

1 certify under penalty of perjury that the information provided above is true and
correct,

. ee - s
Signature of Debtor:y< =
. t

Date: Zor

t

Case 2:11-bk-14834-BB Doci1_ Filed 02/04/11 Entered 02/04/11 09:10:35 Desc
. Main Document Page 10 of 11

Form B6A {12/07} __.__2007 USBC, Central District of California
In re Case No.:

|
| AEE apo gtr |

Debtor. | eee cone Alf enOwn) |

SCHEDULE A - REAL PROPERTY

Except as directed below, iist all real property in which the debtor has any legal, equitable, or future interest, including all property owned
as a co-tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers
exercisable for the debtor's own benefit. if the debtor is married, state whether the husband, wife, both, or the marital community own the
property by placing an “H,* “W," “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in
real property, write “None” under “Description and Location of Property.”

De not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory
Contracts and Unexpired Leases.

if an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D.
if no entity claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim."

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C -
Property Claimed as Exempt.

E
Sz CURRENT VALUE
aS OF DEBTOR'S
DESCRIPTION AND NATURE OF DEBTOR'S ze? INTEREST IN AMOUNT OF
LOCATION OF INTEREST IN PROPERTY 22 PROPERTY, WITHOUT SECURED
PROPERTY S$ DEDUCTING ANY CLAIM
<x SECURED CLAIM
ae OR EXEMPTION
=x
eon — eae ee ef ee
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(Report also on Summary ¢ of Schedules.)
Case 2:11-bk-14834-BB Doc1 Filed 02/04/11 Entered 02/04/11 09:10:35

. Main Document Page 11 of 11 pes

LIST OF UNSECURED CREDITORS

Citibank (South Dakota), N.A.
Citicard Processing Center
Des Moines, LA 50363

Capital One Bank
P. O. Box 60599
City of Industry, CA 91716

Bank of America —- FSB
P. O. Box 20612
Greenboro, NC 27420

Bank of America — FSB
P. O. Box 301200
Los Angeles, CA 90030
